Service Credit Union — xx62

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Deposit Source Transactions Total Connection to Business
Cash 59 $2,250,065.00
/ 2 $322,610.00 | Telegram; Testifying Witness
3 $14,500.00 Telegram
1 $19,500.00 Telegram
1 $200.00 Telegram
3 $2,700.00 Telegram
1 $47,436.00 Telegram
3 $45,000.00 Telegram
1 $34,000.00 LocalBitcion
1 $68,000.00 Telegram
3 $359,000.00 Telegram
1 $2,700.00 Telegram
3 $71,400.00 Telegram; Testifying Witness
2 $67,000.00 LocalBitcoin; Testifying
Witness
1 $16,000.00 Telegram
17 $61,957.00 Telegram; Testifying Witness
1 $305,000.00 | Telegram; Testifying Witness
4 $38,150.00 Keene Police Report —
Romance Scam Victim
TOTAL $3,725,218.03
PAYEES
Payee Count Total
BC Exchange 20 -$3,020,000.00
Bitstamp Limited 3 -$137,000.00
Blockchain Access lIdt 1 -$5,000.00
Payward Ventures 13 -$2,672,000.00
Prime Trust 11 -$925,000.00
TOTAL -$6,759,000.00

 

 

 

 

 

 
Summary of Deposit Sources
lan B. Freeman

Service Credit Union Classic Checking, A/C ##62

June 2019 - September 2020 (closed)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Deposit Source Count Total Deposited Percentage of Total
AgFed Cu 2 $0.26 0.00%
American Momentu 1 $7,500.00 0.10%
a, ma 3 $210.00 0.00%
A a a 1 $147,000.00 1.99%
Bitstamp Limited 1 $89,775.00 1.22%
BkCd Processing 218 $8,329.17 0.11%
Cambridge ME 1 $58.74 0.00%
Cash 59 $2,250,065.00 30.52%
Church of the Invisible Hand 43 $1,475,566.00 20.02%
2 $19,800.00 0.27%
7 $155,810.00 2.11%
3 $14,500.00 0.20%
Consolidated Communications 1 $44.60 0.00%
1 $19,500.00 0.26%
Echeck.Net 10 $99.20 0.00%
6 $342,292.00 4.64%
1 $200.00 0.00%
Freeman, lan 1 $20,000.00 0.27%
Freeman, lan B. 4 $197,901.78 2.68%
3 $2,700.00 0.04%
1 $450.00 0.01%
Google 7 $931.50 0.01%
Google Pay 2 $2.00 0.00%
HSBC Bank 2 $0.73 0.00%
1 $47,436.03 0.64%
3 $45,000.00 0.61%
Item Missing 16 $237,506.41 3.22%
1 $34,000.00 0.46%
1 $68,000.00 0.92%
Legal 1 $30,000.00 0.41%
Maker Unknown 8 $223,699.42 3.03%
Mighty Moose Marts LLC 1 $71.34 0.00%
Vi. 3 $359,000.00 4.87%
i FOF RR Trust 1 $2,700.00 0.04%
Nobody, Nobody 1 $9,139.00 0.12%
Paypal 4 $10,500.35 0.14%
a i OR Lc 3 $71,400.00 0.97%
Prime Trust LLC 1 $253,585.10 3.44%
Progressive 2 $20.00 0.00%
, / 2 $67,000.00 0.91%
FE SE / BR (returned) 1 $67,000.00 0.91%

 

 

as of December 2, 2022

Page 1 of 2
Summary of Deposit Sources

lan B. Freeman

Service Credit Union Classic Checking, A/C ##62
June 2019 - September 2020 (closed)

Source
Route 101 Goods LLC
Talk Media Inc.
The and

Venmo
Grand Total

as of December 2, 2022

Total
$670,393.00
$558.00
$16,000.00
$61,957.00

$38,150.00
$305,000.00
$1,089.34
$7,371,940.97

of Total
9.09%
0.01%
0.22%
0.84%
0.52%
4.14%
0.01%
100.00%

 

Page 2 of 2
Case 1:21-cr-00041-JL Document 321-4 Filed 07/17/23 Page 4 of 4

Summary of Payees
lan B. Freeman

Service Credit Union Classic Checking, A/C ##62

June 2019 - September 2020 (closed)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Payee Count Total Paid Percentage of Total
AgFed Cu 2 -$0.26 0.00%
Agriculture Federal 1 -$55.00 0.00%
All in One Market 1 -$25.79 0.00%
AuthNet Gateway 10 -$648.20 0.01%
Bank Fee 59 -$1,200.00 0.02%
Bank of America 1 -$250.00 0.00%
BC Exchange 20 -$3,020,000.00 40.96%
Bitstamp Limited 3 -$137,000.00 1.86%
BkCd Processing 8 -$290.58 0.00%
Blockchain Access Ik Idt 1 -$5,000.00 0.07%
Capital One 9 -$13,738.83 0.19%
Citgo 3 -$73.80 0.00%
Citizens Bank 1 -$100.00 0.00%
City of Keene 2 -$7,176.30 0.10%
Dominos Pizza 1 -$8.71 0.00%
i. Vil 1 -S6,825.00 0.09%
Eversource 24 -$3,818.45 0.05%
Freeman, lan 1 -$4,500.00 0.06%
General Bytes 1 -$9,999.00 0.14%
Google Pay 1 -$1.00 0.00%
HSBC Bank 1 -S0.73 0.00%
Item Missing 1 -$283.94 0.00%
Legal 1 -§5,000.00 0.07%
Legal Tender Services PLLC 4 -$25,000.00 0.34%
Mighty Moose Marts LLC 2 -§50,000.00 0.68%
MX1LTD 1 -$9,600.00 0.13%
NH Department of State 1 -$50.00 0.00%
Paypal 2 -$4,000.35 0.05%
Payward Ventures Inc. 13 -$2,672,000.00 36.24%
PNC Bank 3 -$73.73 0.00%
Portsmouth Parking 1 -$6.00 0.00%
Prime Trust LLC 11 -$925,000.00 12.55%
Radius Bank 1 -$100.00 0.00%
Reformed Satanic Church 2 -$230,000.00 3.12%
Robin Hood 1 -$500.00 0.01%
(returned) 1 -$67,000.00 0.91%
Route 101 Goods LLC 2 -$8,748.00 0.12%
Shire Free Church 1 -$100,000.00 1.36%
Summit Store 1 -$25.53 0.00%
i a 4 -$38,150.00 0.52%
UPMA 9 -$23,200.00 0.31%
Venmo 2 -$0.34 0.00%
WalMart 1 -$25.80 0.00%
Withdrawal 1 -$3,181.25 0.04%
Grand Total 217 ~—-$7,372,656.59 100.00%

 

 

 

as of December 2, 2022

 
